                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA,
                                  NORTHERN DIVISION

 In re: JIT INDUSTRIES, INC.            )
                                        )                    Case No.: 18-80892-CRJ-11
                                        )
                Debtor.                 )
                                        )                    CHAPTER 11
 _______________________________________)
                                        )
 JIT INDUSTRIES, INC.,                  )
                                        )
        Plaintiff,                      )
                                        )
 v.                                     )             Adversary Proceeding No.: 18-80069
                                        )
 WELLS FARGO FINANCIAL                  )
 LEASING, INC., et. al                  )
                                        )
        Defendants.                     )

           ORDER CONTINUING BRIEFING DATE ON MOTION TO DISMISS
            ADVERSARY PROCEEDING FILED BY JIT MILITARY SALES

          This matter came before the Court on the oral Motion by the Plaintiff to modify the
 briefing date set by this Court in its Order dated September 21, 2018 (Doc. 78). A hearing was
 held on October 17, 2018, with appearances by Tazewell T. Shepard IV on behalf of Plaintiff JIT
 Industries, Inc. and Kevin D. Heard on behalf of Defendant JIT Military Sales.

          Upon consideration by the Court, and for cause presented, it is hereby

         ORDERED, ADJUDGED and DECREED that the briefing deadline of November 5,
 2018 is hereby VACATED; it is further

         ORDERED, ADJUDGED and DECREED that JIT Industries, Inc. and JIT Military
 Sales must submit the briefs previously ordered on or before Wednesday, December 5, 2018 by
 5:00 p.m., CDT.

 Dated this the 18th day of October, 2018.
                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge

 Prepared by:
 Tazewell T. Shepard IV
 Attorney for Debtor/Plaintiff




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